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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-0326 MCE
12                                Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                            FINDINGS AND ORDER
14   ROBERT ANTHONY GUERENA,                              DATE: April 3, 2014
                                                          TIME: 9:00 a.m.
15                                Defendant.              COURT: Hon. Morrison C. England, Jr.
16
17                                               STIPULATION

18         1.       By previous order, this matter was set for status on April 3, 2014.

19         2.       By this stipulation, defendant now moves to continue the status conference until June 26,

20 2014, and to exclude time between April 3, 2014, and June 26, 2014, under Local Code T4.
21         3.       The parties agree and stipulate, and request that the Court find the following:

22                  a)     The government has represented that the discovery associated with this case

23         includes investigative reports, recorded telephone conversations, and CD totaling 132

24         batestamped pages. All of this discovery has been either produced directly to counsel and/or

25         made available for inspection and copying.

26                  b)     Counsel for defendant desires additional time to consult with his clients, review

27         the evidence, conduct further defense investigation, including retesting controlled substances and

28         discussing potential resolutions short of jury trial.

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      1
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 1                   c)      Counsel for defendant believe that failure to grant the above-requested

 2           continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3           into account the exercise of due diligence.

 4                   d)      The government does not object to the continuance.

 5                   e)      Based on the above-stated findings, the ends of justice served by continuing the

 6           case as requested outweigh the interest of the public and the defendant in a trial within the

 7           original date prescribed by the Speedy Trial Act.

 8                   f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9           et seq., within which trial must commence, the time period of April 3, 2014 to June 26, 2014,

10           inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11           because it results from a continuance granted by the Court at defendants’ request on the basis of

12           the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13           of the public and the defendant in a speedy trial.

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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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     Dated: April 1, 2014                                      BENJAMIN B. WAGNER
 6                                                             United States Attorney
 7
                                                               /s/ OLUSERE OLOWOYEYE
 8                                                             OLUSERE OLOWOYEYE
                                                               Assistant United States Attorney
 9
10
     Dated: April 1, 2014                                      /s/ DAN KOUKOL
11                                                             DAN KOUKOL
12                                                             Counsel for Defendant
                                                               ROBERT VARGAS
13
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                                             FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED.
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18
     Dated: April 2, 2014
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND       3
      ORDER
